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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                     }
               Plaintiff-Respondent           }
                                              }
v.                                            }      CRIMINAL ACTION NO. H-95-142-10
                                              }      CIVIL ACTION NO. H-03-3227
JORGE LOUIS GARCIA,                           }
               Defendant-Petitioner           }


                               MEMORANDUM AND ORDER

       Presently before the Court are Petitioner Jorge Louis Garcia’s Motion to Vacate, Set Aside

or Correct Sentence pursuant to 28 U.S.C. § 2255 (Doc. 5178); the Government’s response and

motion to dismiss (Doc. 5217); Petitioner’s response to the Government’s motion to dismiss (Doc.

5226); the Magistrate Judge’s Memorandum and Recommendation (Doc. 5492); and Petitioner’s

objections to the Magistrate Judge’s Memorandum and Recommendation (Doc. 5498).

       Petitioner objects to the Magistrate Judge’s recommendation that he not be allowed to amend

his motion to add a claim pursuant to United States v. Booker, 543 U.S. 220 (2005), and to the

Magistrate conclusion that, in any event, Booker does not apply retroactively to cases brought under

Title 28 United States Code Section 2255. Since the Magistrate Judge issued her report and

recommendation, the Fifth Circuit Court of Appeals decided United States v. Gentry, 432 F.3d 600

(5th Cir. 2005). In Gentry, the Fifth Circuit held that “Booker does not apply retroactively on

collateral review to an initial 28 U.S.C. § 2255 motion.” Gentry, 432 F.3d at 600. Accordingly,

Petitioner’s objections are overruled.



       After carefully considering the record and the applicable law, the Court concludes that the

Government’s motion to dismiss (Doc. 5217) should be GRANTED, Garcia’s motion (Doc. 5178)
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should be DENIED, and that this § 2255 proceeding should be DISMISSED. The Court adopts the

Magistrate Judge’s Memorandum and Recommendation in full.

      SIGNED at Houston, Texas, this 27th day of September, 2006.




                                                  ______________________________________
                                                           MELINDA HARMON
                                                    UNITED STATES DISTRICT JUDGE




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